Case 2:Ol-CV-02503-SH|\/|-tmp Document 637 Filed 07/25/05 Page 1 of 4 Page|D 754

 

IN THE UNITED sTATEs DISTRICT cOUNHDEL» ---n“
FoR THE WESTERN DISTRICT oF TENNESSEE

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WMS M. GOULD
FEDERAL ExPREss cORPoRATION, 'U&DHUCYUIH|

WbOFTN. MEMH'IS

Plaintiff,
vs. No. 01-2503-MaP

ACCU SORT SYSTEMS, INC.,

Defendant.

 

ORDER GRANTING MOTION TO EXTEND TIME

 

Before the court is July 15, 2005, joint motion of the
parties requesting additional time within which to file responses
to all pending motions in limine. For good cause shown, the
motion is granted. The parties shall have to and including
August 19, 2005, Within which to file responses to all currently
pending motions in limine.

lt is so oRDERED this 'm"l day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Rule bd and/or 79{3) FRCP on

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Notice of Distribution

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Charles F. Morrow

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

David Wade

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

.1. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Frank 1\/1. Holbrook

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

.1 ohn .1 O'Malley

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

Cynthia D Vreeland

WILMER CUTLER PICKERING HALE & DORR LLP
60 State St.

Boston, MA 02109

Cynthia .1. Collins

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
1\/lemphis7 TN 38125--880

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.1 ohn R. Branson

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

Michael W. Higginbotham

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building B.

1\/lemphis7 TN 38125--880

Stephen R. Cochell
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building B.
1\/lemphis7 TN 38125--880

.1 ohn Patterson Brumbaugh
KING & SPALDING

191 Peachtree St. N.E.
Atlanta, GA 30303--176

Anthony Volpe

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

Michael R. Heyison

WILMER CUTLER PICKERING HALE & DOOR LLP
60 State St

Boston, MA 02109

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Grady M. Garrison

BUTLER SNOW O'MARA STEVENS & CANNADA, PLLC
P.O.B0X171443

1\/lemphis7 TN 38187--144

.1 ohn G. Fabiano

WILMER CUTLER PICKERING HALE & DOOR LLP
60 Hale St

Boston, MA 02109

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Honorable Samuel Mays
US DISTRICT COURT

